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                                          UNITED STATES DISTRICT COURT
                                                                          for the

                                                               Middle District of Louisiana


                                                                                Division




                                                                                    Case No.
                           Daysha Blount



                                P]amtiff(s)
(Write thefnl! name of each pfainfiff'who isjiUng ihis complaint.
If the names of all thcplamfiffs cannot fit in the space, above,
phase write see attached" in the space and attach an adffifio/wf
page wilh thefni! list of names.)
                                   -V-




                  Capital One Financial Corp



                          Defendants)
(Write fhefuti name of each defendant who is being sued. If (he
names ofaH fhe defendants camioffif in the space above, please
write see affached m the space am} utiuch an additional page
wifh the full list of names.)




                                     COMPLAINT AND REQUEST FOR INJUNCTION


I. The Parties to This Complaint

           A. The Plaintiffs)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.

                                 Name                                  Daysha Blount
                                 Street Address                        42241 Conifer Drive
                                 City and County                       Gonzales, Ascension Parish

                                 State and Zip Code                    Louisiana, 70737

                                 Telephone Number                      (504)259-5050
                                 E-mail Address                        dayshablount@icloud.com



          B. The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title fifhwwn). Attach additional pages if needed.

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                      Defendant No. 1

                                 Name                         Capita! One_ Financial Corp
                                 Job or Title (if known)

                                 Street Address               1680 Capita! One Drive
                                 City and County              McLean, Fairfax County
                                 State and Zip Code           Virginia, 22102
                                 Telephone Number             1-877-383-4802
                                 E-mail Address (ifhwwn)



                      Defendant No. 2

                                 Name

                                 Job or Title (if known)

                                 Street Address

                                 City and County
                                 State and Zip Code
                                Telephone Number

                                E-mail Address (if known)



                     Defendant No. 3

                                Name

                                Job or Title (if known)

                                 Street Address

                                City and County

                                 State and Zip Code

                                Telephone Number

                                E-mail Address (ifhwwn)



                     Defendant No. 4

                                Name

                                Job or Title (ifhwwn)

                                Street Address

                                City and County
                                State and Zip Code

                                Telephone Number

                                E-mail Address (if known)




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II. Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all ihaf apply)

                 Lv^JFcderal question I_| Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A. If the Basis for Jurisdiction Is a Federal Question


                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.


                      15 USC 1692


          B. If the Basis for Jurisdiction Is Diversity of Citizenship

                     1. The Plamtiff(s)

                                a. If the plamtiff is an individual

                                           The plaintiff, (name) Daysha Blount , is a citizen of the

                                           State of (name) Louisiana



                                b. If the plaintiff is a coiporation

                                           The plaintiff, (name) , is incorporated

                                           under the laws of the State of (name)

                                           and has its principal place of business m the State of (name)




                                (If more than one plaintiff is named in the complaint, attach an additional pa^e providing the
                                same information for each additional plaintiff .)

                     2. The Defendant(s)

                                a. If the defendant is an individual

                                           The defendant, (name) , is a citizen of

                                           the State of (name) . Or is a citizen of

                                           (foreign nation)




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                                 b. If the defendant is a corporation

                                            The defendant, (name) Capital One Financial Corp _ 'is incoiporated under

                                            the laws of the State of(name) Virginia ' an<^ ^as Its

                                            principal place of business in the State oi(name) virainia

                                            Or is incorporated under the laws of (foreign nation)

                                            and has its principal place of business in (name)


                                 (If more than one defendant is named in the complain}, attach aft addWonaJ page providing the
                                 same information for each additional defendant.)

                     3. The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75,000, not counting interest and costs of court, because (expJam):

                                  Capital One has caused me emotional distress and anxiety. I see the doctor regularly to discuss
                                  my anxiety and emotional distress. Due to Capital One aiding to my mental disabilities, I am
                                  suing for $500,000, revolving credit with no balance, no spending limit, report as paid and good
                                  standing every month to the consumer reporting agencies, and an apology.



III. Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible Ihe
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.


          A. Where did the events giving rise to your claim(s) occur?

                      Louisiana




          B. What date and approximate time did the events giving rise to your claim(s) occur?

                      August 24, 2020 - September 28,2020




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          C. What are the facts underlying your claim(s)? (For example: Whaf happened fo you? Wkodidwhat?
                     Was anyone else involved? Who ehe saw what happened?)


                      Capita! One has vioiated my rights as a federally protected consumer. Below I will list a few laws that
                      were violated: 1692.(a), 1692c.(a)(1), 1692b.(5), 1692f.(8), 1692e.(11), 1692e.(2)(A), 1692f.(1)




IV. Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.


         They have caused me financial injury/distress due to me being a retired disabled veteran, I can no longer work,
         and i have a set income every month, i haven't been able to supply for my family due to my credit card declining
         which results into contiict with my spouse. I'm currently deaiing with depression and trying to figure out how to
         make ends meet since Capita! One has closed my account.




V. Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you arc entitled to actual or
          punitive money damages.

         My requested relief as stated in my cease and desist and invoices are: an apology, revolving credit with no
         balance, no spending limit on this account, report as paid and in good standing every month to the consumer
         reporting agencies, and monetary compensation.




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VI. Certification and Closing


          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11 .


          A. For Parties Without an Attorney


                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing: 10/06/2020


                     Signature of Plaintiff j . ^ ^ , . ^^
                    Printed Name of Plaintiff Daysha Bloi^t


          B. For Attorneys


                    Date of signing:



                     Signature of Attorney

                    Printed Name of Attorney

                    Bar Number

                    Name of Law Firm

                     Street Address

                     State and Zip Code
                    Telephone Number

                    E-mail Address
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